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     Jonathan Dean Lowery, Petitioner  v.  The People of the State of Colorado. Respondent No. 22SC679Supreme Court of Colorado, En BancFebruary 28, 2023
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case Nos. 19CA1655, 19CA1656 &amp; 19CA1657
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    